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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No: 25-mj-142 SGE


               Plaintiff,

v.
                                                            Brady Obligation Order
Justin David Eichorn,

               Defendant.
               _________________________________________________

       Pursuant to the Due Process Protections Act the Court confirms the United States’

obligation to disclose to the defendant all exculpatory evidence-that is, evidence that favors

the defendant or casts doubt on the United States’ case, as required by Brady v. Maryland, 373

U.S. 83 (1963) and its progeny, and orders the United States to do so. Failure to disclose

exculpatory evidence in a timely manner may result in consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,

disciplinary action, or other sanctions by the court.

       IT IS SO ORDERED.

       Dated: March 20, 2025                                s/ Shannon G. Elkins
                                                            SHANNON G. ELKINS
                                                            U.S. Magistrate Judge
